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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF IOWA
DENNIS DONNELLY, on behalf of himself
and all others similarly situated                               Case No. 4:25-cv-00150-RGE-WPK
                                                ,
                Plaintiff(s),
                                                               MOTION FOR ADMISSION
v.
DES MOINES REGISTER AND TRIBUNE                                    PRO HAC VICE
CO., INC.; J. ANN SELZER; SELZER &
COMPANY; and GANNETT CO., INC.     ,
                Defendant(s).


   A. Applicant’s Information and Certification

         Pursuant to Southern District of Iowa Local Rule 83(d)(3) and (4),
I, Robert Corn-Revere                           , respectfully moves to appear pro hac vice for the purpose
of appearing as counsel on behalf of, Defendants J. Ann Selzer and Selzer & Company             , in the above
case. In support of this motion, the undersigned states:
         1. I am admitted to practice and in good standing in the following United States District Court
and/or a state’s highest court: Washington, D.C. (see attached)                 , Bar Id: 375415        .
         2. I have never been disbarred, suspended, or received any discipline in any state or federal
courts, and no complaints or disciplinary matters are pending against me.
         3. I agree to submit to and comply with all provisions and requirements of the rules of conduct
applicable to lawyers admitted to practice law in the state courts of Iowa and comply with the Local
Rules.
         4. I agree to comply with the associate counsel requirements of LR 83(d)(3) and (4) by
associating with Greg H. Greubel                                         , an attorney admitted to practice law
in this district and who has entered an appearance in this case.
         5. I agree to pay the applicable required fee electronically.
         WHEREFORE, the undersigned counsel respectfully requests that this Court enter an Order
granting leave to appear pro hac vice for appearing in this case.
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                                                  Respectfully submitted,

Date: 05/02/2025                                  /s/ Robert Corn-Revere
                                                  (Signature)
                                                   Robert Corn-Revere
                                                  (Printed Name)
                                                   Foundation for Individual Rights and Expression (FIRE)
                                                  (Law Firm Name)
                                                   700 Pennsylvania Ave. SE, Ste. 340
                                                  (Law Firm Street address)
                                                   Washington, D.C. 20003
                                                  (City, State, Zip Code)
                                                  __________________________________________
                                                   (215) 717-3473
                                                  (Telephone number)
                                                    bob.corn-revere@thefire.org
                                                  (E-mail address)


    B. Local Counsel Information and Certification

        I, Greg H. Greubel                , an active member in good standing of the bar of the United
States District Court for the Southern District of Iowa, request that this court admit
Robert Corn-Revere                         pro hac vice, an attorney admitted to practice and currently in
good standing in, Washington, D.C. (see attached) , but not admitted to the bar of this court, who will
be counsel for the Defendants J. Ann Selzer and Selzer & Company , in the case listed above. I am aware of my
obligations under the Local Rules of this court including requiring that I accept service of all documents.


Date: 05/02/2025                                  /s/ Greg H. Greubel
                                                  (Signature)
                                                   Greg H. Greubel
                                                  (Printed Name)
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Robert Corn-Revere is admitted to practice and in good standing in the following United States
Courts and/or a state’s highest courts:

 Jurisdiction                      Bar Number (if applicable)
 District of Columbia Bar          375415
 D. Ariz.
 C.D. Cal.
 N.D. Cal.
 D. Colo.
 D.D.C.
 M.D. Ga.
 D. Haw.
 N.D. Ill.
 M.D. La.
 W.D. Mich.
 S.D.N.Y.
 W.D.N.Y.
 W.D. Pa.
 D.C. Cir.
 1st Cir.
 2d Cir.
 3d Cir.
 4th Cir.
 5th Cir.
 6th Cir.
 7th Cir.
 8th Cir.
 9th Cir.
 10th Cir.
 11th Cir.
 U.S. Supreme Court
